       Case 8:16-cv-00019-JVS-JCG Document 51 Filed 11/10/16 Page 1 of 4 Page ID #:317



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        THE TORKZADEH LAW FIRM
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   3    Los Angeles, CA 90025
        Tel: (310) 935-1111 / Fax: (800) 979-0262
   4
        E-mail: Reza@TorkLaw.com
   5
        Attorney for Plaintiff
   6
        JUAN ESEBERRE, JR.
   7
   8                              UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10    JUAN ESEBERRE, JR.,                           Case No. 8:16-cv-00019-JVS-JCG
  11                                                  STIPULATION & JOINT MOTION
                     Plaintiff,                       TO DISMISS WITH PREJUDICE PER
  12
                                                      RULE 41(a)
  13          v.
                                                      Judge:      Hon. James V. Selna
  14
        I.Q. DATA INTERNATIONAL, INC.;                Ct.:        10C
  15    MEDEL LAW GROUP, APC; and
        DOES 1-10, Inclusive,                         Location: U.S. Courthouse
  16
                                                                411 W. 4th St.
  17                 Defendants.                                Santa Ana, CA 92701
  18
  19          PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that
  20    plaintiff JUAN ESEBERRE, JR., defendant I.Q. DATA INTERNATIONAL, INC.
  21    and defendant MEDEL LAW GROUP, APC hereby stipulate and agree to dismiss
  22    with prejudice this entire action against all parties and all parties shall bear their
  23    own fees and costs.
  24    ///
  25    ///
TORK
                                                 -1-        Case# 8:16-cv-00019-JVS-JCG
                                      Stip. Rule 41(a) Dismissal
       Case 8:16-cv-00019-JVS-JCG Document 51 Filed 11/10/16 Page 2 of 4 Page ID #:318



   1          Dismissal under this rule requires no action on the part of the court and
   2    divests the court of jurisdiction once the notice of voluntary dismissal is filed. See
   3    e.g., U.S. v. Real Property Located at 475 Martin Lane, Beverly Hills, CA, 545
   4    F.3d 1134, 1145 (9th Cir. 2008). Rule 41(a) is not limited to the dismissal of an
   5    entire action against all defendants. Hells Canyon Preservation Council v. U.S.
   6    Forest Service, 402 F.3d 683, 687 (9th Cir. 2005). The 9th Circuit extends the rule
   7    to permit dismissal of an entire action against individual defendants. Id.
   8     THE BELOW SIGNED STIPULATE AND AGREE TO ALL THE ABOVE
   9
  10    Date: November 10, 2016                 TORKZADEH LAW FIRM, APC
  11
                                                By: /s/ Reza Torkzadeh
  12
                                                   ATTORNEYS FOR PLAINTIFF
  13
                                                WINGET SPADAFORA &
  14
                                                SCHWARTZBERG, LLP
  15
                                                By: /s/ Gabriel Z. Reynoso
  16
                                                   ATTORNEYS FOR I.Q. DATA
  17
                                                HINSHAW & CULBERTSON, LLP
  18
  19                                            By: /s/ Daniel Sanchez-Behar
                                                   ATTORNEYS FOR MEDEL LAW
  20
  21                                  Signature Certification
  22          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  23    Policies and Procedures Manual, I hereby certify that the content of this document
  24    is acceptable to Gabriel Reynoso and Daniel Sanchez-Behar, counsel for
  25    ///
TORK
                                                 -2-        Case# 8:16-cv-00019-JVS-JCG
                                      Stip. Rule 41(a) Dismissal
       Case 8:16-cv-00019-JVS-JCG Document 51 Filed 11/10/16 Page 3 of 4 Page ID #:319



   1    Defendants, and that I have obtained their authorizations to affix their electronic
   2    signatures to this document.
   3
   4    Dated: November 10, 2016               /s/ Reza Torkzadeh
                                               Attorneys for Plaintiff
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TORK
                                                  -3-        Case# 8:16-cv-00019-JVS-JCG
                                       Stip. Rule 41(a) Dismissal
       Case 8:16-cv-00019-JVS-JCG Document 51 Filed 11/10/16 Page 4 of 4 Page ID #:320



   1                                      PROOF OF SERVICE
   2    ESEBERRE, JR. vs. I.Q. DATA INTERNATIONAL, INC.
   3    C.D. CAL. CASE NO. 8:16-cv-00019-JVS-JCG

   4    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   5
        I, Reza Torkzadeh, am an attorney licensed in California. My business address is 11601
   6    Wilshire Blvd. Ste. 500, Los Angeles, CA 90025, (310) 935-1111. I am over 18 years of
        age, not a party to the within action, and I am exempt from registration under California
   7    Business and Professions Code § 22350(b).
   8
        I served on November 10, 2016 the foregoing document(s) described as –
   9
               • STIPULATION AND JOINT MOTION TO DISMISS WITH PREJUDICE PER
  10
                 RULE 41(a)
  11
        - on the other parties in this action by delivering as follows:
  12
  13    Gabriel Z. Reynoso, Esq.                        Daniel Sanchez-Behar, Esq.
        Winget, Spadafora & Schwartzberg                Hinshaw & Culbertson LLP
  14    LLP                                             11601 Wilshire Blvd. #800
  15    1900 Avenue of the Stars #450                   Los Angeles, CA 90025
        Los Angeles, CA 90067                           Tel.: (310) 909-8000
  16    Tel.: (310) 836-4800                            Fax: (310) 909-8001
  17    Fax: (310) 836-4801                             dsanchez-behar@hinshawlaw.com
        gzr@jmbm.com                                    Attorneys for Medel Law Group
  18    Attorneys for I.Q. Data Intl.
  19
         [X]    FRCP 5(b)(2)(E): electronic means consented to in writing.
  20
        Executed on November 10, 2016 in Los Angeles, California.
  21
  22    I swear under the penalty of perjury under the laws of the state of California that the
        foregoing is true and correct.
  23
        /s/ Reza Torkzadeh
  24
        Reza Torkzadeh
  25
TORK
                                                 -1-        Case# 8:16-cv-00019-JVS-JCG
                             Stip. Rule 41(a) Dismissal (Proof of Service)
